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       Complete items 1, 2, and 3. Also complete               A. Signature
       item 4 if Restricted Delivery is desired.
                                                               X                                               0 Agent
       Print your name and address on the reverse
       so that we can return the card to you.
                                                                                                               0 Addressee
  *    Attach this card to the back of the mailpiece,
                                                               B. Received by (Printed Name)             C. Date of Delivery
       or on the front if space permits.
  1.   AricleAddreseedtr
                                                               D. Is delivery address different from item 1?   0 Yes
                                                                   if YES, enter delivery address below:       0 No
      TRS           OUNTY DISTRICT GLERK                               MAY 302017
      P.O.B0X1748                                         1'       ;
      AUSTIN, TX 78767
                                                                       ice Type
                                                                 'Certified   Mail     EliExpress Mail
                                                                   0 Registered        F.' Return   Receipt for Merchandise
                                                                   0 Insured Mail     0 COD.
                                                            4. Restricted Delivery? (Extra Fee)                DYes
 2.
       (Th      7013 1710 0001 9920 084?
 PS Form 3811, February 2004                  Domestic Return Receipt                                      102595-02-M-154Q




         UNITED STATES POSTAL
                              SERVICE
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                                                                                                 Postage & Fees Paid
                                                                                                 uSPS
                                                                                                 Permit No. G-1O


                             PleastyournameaddressandZth.b


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                                     501   W 5th Street, &dte I               CLERK, U,        QlS1lCT Cl
                                    Austin, Texas
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                                                        78701                 BY_______________
                                                                                                         DEP
